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Form DEF7 (03/19)
                                           United States Bankruptcy Court
                                            Western District of Michigan
                                                One Division Ave., N.
                                                      Room 200
                                               Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                   Case Number 19−04658−swd
         Whitney Leigh Langston
         500 Dunlap St                                             Chapter 7
         Lansing, MI 48910
         SSN: xxx−xx−5765                                          Honorable Scott W. Dales
                                                       Debtor



                                           NOTICE OF FILING(S) DUE


A petition was filed in the above−referenced case on 11/4/19 . Please be advised that the following list of
documents have not been filed with the petition and must be filed in the immediate future.



                 Means Test Form B122 due 11/18/2019.
                 Schedules A/B−J due 11/18/2019.
                 Summary of Assets and Liabilities due 11/18/2019.
                 Declaration About Schedules due 11/18/2019.
                 Statement of Financial Affairs due 11/18/2019.
                 Asset Protection Report due 11/18/2019.

Local Rule 5005−2(f) of this Court requires that certain documents be filed simultaneously with the petition
commencing a bankruptcy case. Pursuant to said Local Rule, if the defect is not corrected by the filing of
the missing papers within 14 days of service of the Notice of Filings Due, the case may be dismissed
without further notice to the debtor or any interested parties. Please note that all documents must be signed
or accompanied by sworn declaration.




Dated: November 4, 2019
